      Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 1 of 33




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

FREEDOM WATCH, INC.,                )
                                    )
      Plaintiff,                    )   Civ. Action No. 1:18-cv-00088 (EGS)
                                    )
      v.                            )
                                    )
ROBERT S. MUELLER III, et al.       )
                                    )
      Defendants.                   )
____________________________________)



    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION FOR
                    SUMMARY JUDGMENT
           Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 2 of 33




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 1

ARGUMENT .................................................................................................................................. 5

I.        STANDARD OF REVIEW ................................................................................................ 5

II.       DEFENDANTS CONDUCTED REASONABLE SEARCHES. ....................................... 6

          A.         OIP’s Search for Responsive Records. ................................................................... 8

          B.         FBI’s Search for Responsive Records. ................................................................. 10

          C.         Defendants’ Searches Were More Than Adequate. .............................................. 11

III.      DEFENDANTS PROPERLY WITHHELD INFORMATION UNDER
          EXEMPTIONS 5, 6, AND 7(C). ...................................................................................... 12

          A.         OIP Properly Withheld Information Under Exemption 5 ..................................... 12

          B.         OIP and FBI Properly Withheld Information Under Exemption 6. ...................... 17

          C.         OIP Properly Withheld Information Under Exemption 7(C). .............................. 23

          D.         OIP and FBI Released All Reasonably Segregable Portions Of Responsive
                     Records. ................................................................................................................ 25

CONCLUSION ............................................................................................................................. 26




                                                                       i
           Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 3 of 33




                                               TABLE OF AUTHORITIES

CASES

Bartko v. U.S. Dep’t of Justice,
  167 F. Supp. 3d 55 (D.D.C. 2016) ............................................................................................ 11

Bigwood v. U.S. Dep’t of Def.,
  132 F. Supp. 3d 124 (D.D.C. 2015) ......................................................................................... 11

Campbell v. U.S. Dep’t of Justice,
  164 F.3d 20 (D.C. Cir. 1998) ...................................................................................................... 7

Carter v. U.S. Dep’t of Commerce,
  830 F.2d 388 (D.C. Cir. 1987) .................................................................................................. 18

Coastal States Gas Corp. v. U.S. Dep’t of Energy,
  617 F.2d 854 (D.C. Cir. 1980) .................................................................................................. 13

Competitive Enter. Inst. v. EPA,
  232 F. Supp. 3d 172 (D.D.C. 2017) .......................................................................................... 17

Davis v. U.S. Dep’t of Justice,
  968 F.2d 1276 (D.C. Cir. 1992) ................................................................................................ 24

Defenders of Wildlife v. U.S. Dep’t of Justice,
  314 F. Supp. 2d 1 (D.D.C. 2004) ................................................................................................ 7

Diamond v. Atwood,
  43 F.3d 1538 (D.C. Cir. 1995) .................................................................................................... 5

FBI v. Abramson,
  456 U.S. 615 (1982) .................................................................................................................... 6

Freedom Watch, Inc. v. NSA,
  49 F. Supp. 3d 1 (D.D.C. 2014)
  aff’d and remanded, 783 F.3d 1340 (D.C. Cir. 2015) .............................................................. 17

Gardels v. CIA,
  689 F.2d 1100 (D.C. Cir. 1982) .................................................................................................. 6

Ground Saucer Watch, Inc. v. CIA,
  692 F.2d 770 (D.C. Cir. 1981) .................................................................................................... 7

Hayden v. NSA,
  608 F.2d 1381 (D.C. Cir. 1979) .................................................................................................. 6


                                                                     ii
           Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 4 of 33




Huntington v. U.S. Dep’t of Commerce,
  234 F. Supp. 3d 94 (D.D.C. 2017) ............................................................................................ 11

In re Apollo Group, Inc. Sec. Litig.,
   251 F.R.D. 12 (D.D.C. 2008).................................................................................................... 13

In re Sealed Case,
   121 F.3d 729 (D.C. Cir. 1997) .................................................................................................. 12

Johnson v. Executive Office for U.S. Attorneys,
  310 F.3d 771 (D.C. Cir. 2002) .................................................................................................. 26

Judicial Watch, Inc. v. Clinton,
  880 F. Supp. 1 (D.D.C. 1995),
  aff’d, 76 F.3d 1232 (D.C. Cir. 1996) ........................................................................................ 13

Judicial Watch, Inc. v. Export-Import Bank,
  108 F. Supp. 2d 19 (D.D.C. 2000) ............................................................................................ 13

Kidd v. U.S. Dep’t of Justice,
  362 F. Supp. 2d 291 (D.D.C. 2005) ............................................................................................ 8

Larson v. U.S. Dep’t of State,
  565 F.3d 857 (D.C. Cir. 2009) .................................................................................................... 6

Lesar v. U.S. Dep’t of Justice,
  636 F.2d 472 (D.C. Cir. 1980) .................................................................................................. 19

Long v. OPM,
  692 F.3d 185 (2d Cir. 2012)................................................................................................ 19, 20

Mapother v. U.S. Dep’t of Justice,
 3 F.3d 1533 (D.C. Cir. 1993) .................................................................................................... 12

Meeropol v. Meese,
 790 F.2d 942 (D.C. Cir. 1986) ................................................................................................ 6, 7

Montrose Chem. Corp. v. Train,
 491 F.2d 63 (D.C. Cir. 1974) .................................................................................................... 14

NLRB v. Sears, Roebuck & Co.,
  421 U.S. 132 (1975) .................................................................................................................. 12

Oglesby v. U.S. Dep’t of the Army,
  920 F.2d 57 (D.C. Cir. 1990) ............................................................................................ 6, 7, 11



                                                                    iii
           Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 5 of 33




Painting & Drywall Work Pres. Fund, Inc. v. HUD,
  936 F.2d 1300 (D.C. Cir. 1991) ................................................................................................ 17

People for the Am. Way Found. v. Nat’l Park Serv.,
  503 F. Supp. 2d 284 (D.D.C. 2007) .......................................................................................... 13

Perry v. Block,
  684 F.2d 121 (D.C. Cir. 1982) .................................................................................................... 7

Protect Democracy Project, Inc. v. U.S. Dep’t of Defense,
  320 F. Supp. 3d 162 (D.D.C. 2018) .......................................................................................... 17

Pub. Emps. for Envtl. Responsibility v. Int’l Boundary & Water Comm’n,
  740 F.3d 195 (D.C. Cir. 2014) ................................................................................................. 19

Reed v. NLRB,
  927 F.2d 1249 (D.C. Cir. 1991) .................................................................................... 18, 19, 20

Reliant Energy Power Generation, Inc. v. FERC,
  520 F. Supp. 2d 194 (D.D.C. 2007) ............................................................................................ 6

Roberts v. U.S. Dep’t of Justice,
  Civ. No. 92-1707 (NHJ), 1995 WL 356320 (D.D.C. Jan. 29, 1993) .......................................... 8

Rockwell Int’l Corp. v. U.S. Dep’t of Justice,
  235 F.3d 598 (D.C. Cir. 2001) .................................................................................................. 13

Russell v. U.S. Dep’t of the Air Force,
  682 F.2d 1045 (D.C. Cir. 1982) .......................................................................................... 13, 15

SafeCard Servs., Inc. v. SEC,
  926 F.2d 1197 (D.C. Cir. 1991) .................................................................................................. 8

Schrecker v. U.S. Dep’t of Justice,
  349 F.3d 657 (D.C. Cir. 2003) .................................................................................................... 8

Sussman v. U.S. Marshals Serv.,
  494 F.3d 1106 (D.C. Cir. 2007) ................................................................................................ 21

TransUnion, LLC v. FTC,
  141 F. Supp. 2d 62 (D.D.C. 2001) ............................................................................................ 18

U.S. Dep’t of Defense v. Fed. Labor Relations Auth.,
  510 U.S. 487 (1994) .................................................................................................................. 18




                                                                    iv
           Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 6 of 33




U.S. Dep’t of Justice v. Reporters Committee for Freedom of the Press,
  489 U.S. 749 (1989) ............................................................................................................ 17, 19

U.S. Dep’t of the Air Force v. Rose,
  425 U.S. 352 (1976) .................................................................................................................. 18

Valencia–Lucena v. U.S. Coast Guard,
  180 F.3d 321 (D.C. Cir. 1999) .................................................................................................... 7

W. Ctr. for Journalism v. IRS,
  116 F. Supp. 2d 1 (D.D.C. 2000),
  aff’d, 22 F. App’x 14 (D.C. Cir. 2001) ....................................................................................... 8

Weisberg v. U.S. Dep’t of Justice,
 745 F.2d 1476 (D.C. Cir. 1984) .............................................................................................. 6, 7

Wolf v. CIA,
 473 F.3d 370 (D.C. Cir. 2007) .................................................................................................... 7

STATUTES

5 U.S.C. § 552 ........................................................................................................................ passim

RULES

Fed. R. Civ. P. 56 ............................................................................................................................ 5

REGULATIONS

28 C.F.R. § 16.5 .............................................................................................................................. 2




                                                                       v
          Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 7 of 33




                                         INTRODUCTION

          Plaintiff Freedom Watch, Inc. filed this Freedom of Information Act (“FOIA”) case

seeking communications between the media and the Office of Special Counsel Robert Muller III

or the Federal Bureau of Investigation related to the Special Counsel’s investigation of Russian

interference in the 2016 presidential election. In response to Plaintiff’s request, Defendants

produced all responsive records, subject to appropriate withholdings. This case presents no novel

or difficult questions of law. Because Defendants have satisfied their obligations under FOIA, the

Court should grant summary judgment in Defendants’ favor.

                       FACTUAL AND PROCEDURAL BACKGROUND

          On January 3, 2018, Plaintiff faxed a FOIA request to the U.S. Department of Justice

(“DOJ”), the Federal Bureau of Investigation (“FBI”), and the Special Counsel’s Office (“SCO”)

seeking

          documents and records . . . that refer or relate with regard to communications to
          and from the media . . . concerning the activities of Special Counsel Robert Mueller
          and/or his staff as well as the Federal Bureau of Investigation, concerning the
          investigation of alleged Russian collusion and related matters concerning the
          Trump Presidential Campaign and the Trump Transition Team . . . .

Compl. Ex. at 3, 7-11, ECF No. 1-1.1 Plaintiff subsequently informed counsel for Defendants that

Plaintiff seeks only records of communications to and from the media rather than purely internal

communications, see Decl. of Joseph Dugan at Bates 005, ECF No. 12-3 (“Dugan Decl.”).

Plaintiff’s representation is consistent with Plaintiff’s other characterization of its request. See

Pls.’ Mot. for Summ. J. at 2-3, ECF No. 10 (opining that it is “impossible for Defendants to claim

and [sic] exemptions or privileges due to the very nature of Freedom Watch’s FOIA request, which

asks for ‘communications to and from the media’”).



1
    Plaintiff also mailed its request on January 2, 2018. Compl. Ex. 1 at 12-16.
                                                   1
        Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 8 of 33




       Plaintiff filed this action on January 15, 2018, just twelve days after Plaintiff transmitted

its FOIA request. On January 23, 2018, the FBI informed Plaintiff that it had granted Plaintiff’s

request for expedited processing. Answer Ex. B at 2, ECF No. 9-1. On February 20, 2018, DOJ’s

Office of Information Policy (“OIP”) likewise informed Plaintiff that its request for expedition had

been granted with respect to records held by DOJ’s Public Affairs Office (“PAO”) and the SCO.

Answer Ex. D at 2, ECF No. 8-5. Because Defendants expedited Plaintiff’s request, it was given

priority, placed in the processing track for expedited requests, and processed as soon as practicable.

See 28 C.F.R. 16.5(e)(4).

       Although Defendants could have insisted Plaintiff amend its Complaint to add a properly

exhausted withholding claim, Defendants instead answered the Complaint on February 20, 2018.

See ECF No. 8. The Court then entered a Minute Order, on March 3, 2018, directing the parties

to “meet and confer to propose a joint scheduling order for further proceedings in this case by no

later than April 1, 2018.” Yet, on March 23, 2018, before any such conference had taken place,

see Dugan Decl. at Bates 010-011, Plaintiff moved for summary judgment, see ECF No. 10.

Thereafter, the parties filed their joint status report on March 30, 2018, ECF No. 11, and the Court

ruled three days later that Defendants must complete their search for potentially responsive records

by the end of April and “shall file a status report apprising the Court of the number of responsive

documents and defendants’ position as to further scheduling matters by no later than May 11,

2018,” Apr. 2, 2018 Minute Order.

       In a status report dated May 11, 2018, Defendants informed the Court that their searches

had located records potentially responsive to Plaintiff’s FOIA request, as follows: (1) 9,016

potentially responsive pages from the SCO; (2) 1,400 potentially responsive pages from DOJ’s

PAO; and (3) approximately 337 potentially responsive pages from FBI. In the same status report,



                                                  2
        Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 9 of 33




Defendants proposed to produce records to Plaintiff on a rolling basis, beginning on or before July

9, 2018. See ECF No. 17. In response to Defendants’ proposal, Plaintiff’s response (ECF No. 18),

and following a status conference on May 24, 2018, the Court denied Plaintiff’s motion for

summary judgment as moot and directed Defendants to produce all responsive, non-exempt

documents to Plaintiff by September 4, 2018. See May 25, 2018 Minute Order.

       On August 29, 2018, Defendants moved for an extension of the final production deadline.

See ECF No. 20. Although Defendants had expected to complete timely production of all of the

responsive, non-exempt documents that they had located in their earlier searches, Defendants

learned of a technical issue that impacted their searches of e-mail records held by custodians at the

SCO and the PAO. Accordingly, Defendants requested additional time to re-run their searches

and to determine whether there were any additional responsive, non-exempt records that should

be produced to Plaintiff. Defendants submitted with their motion a sworn declaration from Joseph

F. Klimavicz¸ who described the technical issue that necessitated Defendants’ motion. See ECF

No. 20-3.

       On September 17, 2018, the Court directed Defendants to submit a status report by

September 26, 2018 to state how many additional records, if any, must be processed and to estimate

how long it would take to produce those records to Plaintiff. See Sept. 17, 2018 Minute Order.

The Court further directed Defendants to “describe the technical issue the government discovered

and explain why the government did not discover the issue earlier.” Id.

       In response to the Court’s Order, on September 26, 2018, Defendants submitted a second

declaration from Mr. Klimavicz, describing in further detail the genesis of the technical issue, the

sequence of events, the efforts taken to address the problem, and the timing of those efforts. See

ECF No. 24-1. Defendants also reported that, through their further remedial searches, OIP



                                                 3
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 10 of 33




determined that there were approximately 1,954 additional pages of potentially responsive to

Plaintiff’s request from the SCO and approximately 460 more pages from DOJ’s PAO—though

Defendants cautioned that those page counts may decline as OIP conducted its further review and

removed any duplicates. See ECF No. 24. After considering Defendants’ status report, the Court

ordered Defendants to finalize production of the additional responsive, non-exempt records by

November 1, 2018. See Oct. 1, 2018 Minute Order.

       As ordered, Defendants finalized their production to Plaintiff on November 1, 2018. The

total production consists of 5,880 pages from OIP and 293 pages from the FBI. See Declaration

of Vanessa R. Brinkmann ¶ 10 (“Brinkmann Decl.”), attached as Exhibit 1; Declaration of David

M. Hardy ¶ 10 (“Hardy Decl.”), attached as Exhibit 2.2 The next day, the Court ordered the parties

to file by November 19, 2018 a joint status report regarding Defendants’ production and to provide

recommendations regarding further proceedings.

       On November 19, 2018, the parties filed the ordered joint status report. In that report,

Defendants proposed a briefing schedule for summary judgment briefing. See ECF No. 27.

Plaintiff, however, indicated that, by December 15, 2018, it would “be filing a written brief

showing that all responsive records have not been produced and that there are numerous

unwarranted redactions in what was produced.” Id. at 1. Plaintiff further represented that its brief

“will also set forth good cause for discovery of the alleged search, which,” according to Plaintiff,

“was defective given Defendants’ eleventh hour claims of an alleged computer/email glitch which

corrupted the search, and perhaps worse.” Id. at 1-2.




       2
         On April 8, 2019, OIP made a supplemental production to Plaintiff, releasing in part a
one-page e-mail that it previously withheld in full. See Brinkmann Decl. ¶ 8. After reviewing its
withholdings OIP also re-released five pages of responsive materials that were re-processed for
consistency with other previously produced materials. Id.
                                                 4
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 11 of 33




       In light of Plaintiff’s position in the joint status report, the Court indicated that it “is not

inclined to agree with plaintiff that good cause exists for allowing discovery regarding the

adequacy of the defendants’ search.” Nov. 26, 2018 Minute Order. The Court, however, allowed

Plaintiff to file a brief regarding the propriety of allowing discovery. Id.

       On December 4, 2018, Plaintiff filed its response to the Court’s Order, explaining why—

in Plaintiff’s view—discovery was necessary. See ECF No. 29. The Court rejected Plaintiff’s

arguments, explaining that Plaintiff had not “raised a sufficient question as to the agency’s good

faith in responding to its FOIA request.” See Jan. 3, 2019 Minute Order. Instead, Plaintiff offered

only “speculative accusations.” Id. As the Court put it, “there is no basis in reality to believe” that

Defendants’ disclosure of the technical issue “was, as Freedom Watch puts it, an ‘attempt to shield

themselves from the public seeing evidence of their routinely leaking grand jury information to

the media and other disclosures from their tactical motivations.’” Id. Indeed, based on a review

of Defendants’ sworn declarations, the Court concluded that the technical issue Defendants flagged

was “benign.” Id. Accordingly, the Court ordered the parties to file another status report on or

before February 4, 2019 proposing a summary judgment briefing schedule.

       Defendants now file this motion for summary judgment pursuant to the Court’s March 29,

2019 Minute Order.

                                           ARGUMENT

I.     STANDARD OF REVIEW

       Summary judgment is appropriate when there is no genuine issue as to any material fact

and the moving party is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56(a); Diamond

v. Atwood, 43 F.3d 1538, 1540 (D.C. Cir. 1995). FOIA actions are typically resolved on summary

judgment, see Reliant Energy Power Generation, Inc. v. FERC, 520 F. Supp. 2d 194, 200 (D.D.C.



                                                  5
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 12 of 33




2007), and the Court conducts a de novo review of the agency’s response to any challenged FOIA

requests, see 5 U.S.C. § 552(a)(4)(B). When a requester challenges the adequacy of an agency’s

search, “[i]n order to obtain summary judgment, the agency must show that it made a good faith

effort to conduct a search for the requested records, using methods which can be reasonably

expected to produce the information requested.” Oglesby v. U.S. Dep’t of the Army, 920 F.2d 57,

68 (D.C. Cir. 1990); see Weisberg v. U.S. Dep’t of Justice, 745 F.2d 1476, 1485 (D.C. Cir. 1984).

       The agency must also justify any records withheld (in whole or in part) subject to FOIA’s

statutory exemptions. Congress recognized “that legitimate governmental and private interests

could be harmed by release of certain types of information and provided nine specific exemptions

under which disclosure could be refused.” FBI v. Abramson, 456 U.S. 615, 621 (1982). “Summary

judgment is warranted on the basis of agency affidavits when the affidavits describe the

justifications for nondisclosure with reasonably specific detail, demonstrate that the information

withheld logically falls within the claimed exemption, and are not controverted by either contrary

evidence in the record nor by evidence of agency bad faith.” Larson v. U.S. Dep’t of State, 565

F.3d 857, 865 (D.C. Cir. 2009) (quotation omitted). “Ultimately, an agency’s justification for

invoking a FOIA exemption is sufficient if it appears ‘logical’ or ‘plausible.’” Wolf v. CIA, 473

F.3d 370, 374-75 (D.C. Cir. 2007) (citing Gardels v. CIA, 689 F.2d 1100, 1105 (D.C. Cir. 1982);

Hayden v. NSA, 608 F.2d 1381, 1388 (D.C. Cir. 1979)).

II.    DEFENDANTS CONDUCTED REASONABLE SEARCHES

       The Court may grant summary judgment concerning the adequacy of an agency’s search

for responsive records based on information provided in “[a] reasonably detailed affidavit, setting

forth the search terms and the type of search performed, and averring that all files likely to contain

responsive materials (if such records exist) were searched.” Valencia–Lucena v. U.S. Coast

Guard, 180 F.3d 321, 326 (D.C. Cir. 1999) (quoting Oglesby, 920 F.2d at 68); see Meeropol v.
                                                  6
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 13 of 33




Meese, 790 F.2d 942, 952-53 (D.C. Cir. 1986). “Such agency affidavits attesting to a reasonable

search ‘are afforded a presumption of good faith,’ and ‘can be rebutted only with evidence that the

agency’s search was not made in good faith.’” Defenders of Wildlife v. U.S. Dep’t of Justice, 314

F. Supp. 2d 1, 8 (D.D.C. 2004) (quoting TransUnion, LLC v. FTC, 141 F. Supp. 2d 62, 64 (D.D.C.

2001)).

          Reasonableness, not perfection, is therefore the Court’s guiding principle in determining

the adequacy of a FOIA search. Defenders of Wildlife, 314 F. Supp. 2d at 8; Campbell v. U.S.

Dep’t of Justice, 164 F.3d 20, 27 (D.C. Cir. 1998). Moreover, the mere fact that a search uncovers

few documents—or even none at all—does not render that search inadequate: “the issue to be

resolved is not whether there might exist any . . . documents possibly responsive to the request,

but rather whether the search for those documents was adequate.” Weisberg, 745 F.2d at 1485;

see also Meeropol, 790 F.2d at 952-53 (search is not presumed unreasonable simply because it

fails to produce all relevant material); Perry v. Block, 684 F.2d 121, 128 (D.C. Cir. 1982) (agency

need not demonstrate that all responsive documents were found and that no other relevant

documents could possibly exist). Conducting a “reasonable” search is a process that requires “both

systemic and case-specific exercises of discretion and administrative judgment and expertise” and

is “hardly an area in which the courts should attempt to micro manage the executive branch.”

Schrecker v. U.S. Dep’t of Justice, 349 F.3d 657, 662 (D.C. Cir. 2003) (quotation omitted).

          To that end, in evaluating the adequacy of a search, courts accord agency affidavits a

presumption of good faith that cannot be rebutted by speculation “about the existence and

discoverability of other documents.” SafeCard Servs., Inc. v. SEC, 926 F.2d 1197, 1200 (D.C. Cir.

1991) (internal quotation and citation omitted); see also Ground Saucer Watch, Inc. v. CIA, 692

F.2d 770, 771 (D.C. Cir. 1981) (same). Rather, to establish the sufficiency of its search, the



                                                  7
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 14 of 33




agency’s affidavits need only explain the “scope and method of the search” in “reasonable detail.”

Kidd v. U.S. Dep’t of Justice, 362 F. Supp. 2d 291, 295 (D.D.C. 2005). FOIA does not require

agencies to search every record system, but only those systems in which the agency believes

responsive records are likely to be located. W. Ctr. for Journalism v. IRS, 116 F. Supp. 2d 1, 9

(D.D.C. 2000), aff’d, 22 F. App’x 14 (D.C. Cir. 2001); Roberts v. U.S. Dep’t of Justice, Civ. A.

No. 92-1707 (NHJ), 1995 WL 356320, at *1 (D.D.C. Jan. 29, 1993). As explained below, a

reasonable search is precisely what Defendants performed here.

       A.      OIP’s Search for Responsive Records

       OIP is responsible for processing FOIA requests that seek records from within OIP and

from within six senior leadership offices at DOJ. See Brinkmann Decl. ¶ 1. As necessary, and as

relevant in this litigation, OIP also processes FOIA requests that seek records from within the

SCO. Id. OIP has dedicated Initial Request Staff (“IR Staff”) who determine whether records

responsive to a FOIA request exist and, if so, whether they should be released in accordance with

FOIA. Id. In processing requests, the IR Staff consults, as needed, with personnel in the senior

leadership offices and the SCO, and with personnel in other components within DOJ in order to

assist with its determinations. Id.

       In this case, upon review of Plaintiff’s request, which seeks communications to and from

the media concerning the SCO, OIP determined that responsive records were most likely to reside

within two DOJ offices: (1) PAO—tasked with coordinating DOJ’s relationship with the news

media—and (2) the SCO. Id. ¶ 13. In order to capture all potentially responsive records, OIP

conducted broad searches of unclassified e-mail records and computer hard drives within those

two offices. Id. ¶¶ 14-18; see also id. ¶ 12. Specifically, OIP conducted remote electronic searches

of the e-mail records and computer files of fifteen PAO custodians that OIP determined may have

communicated with the media based on their positions. Id. ¶ 14. Likewise, OIP conducted remote
                                                 8
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 15 of 33




electronic searches of e-mail records and computer hard drives for two SCO custodians who, based

on consultation with the SCO, OIP determined were responsible for communications with the

media. Id. ¶ 15. Those two SCO custodians were detailed to the SCO from other DOJ components,

one from PAO and one from the United States Attorney’s Office for the Eastern District of Virginia

(“EDVA”). Id. In addition to searching for records held by those custodians, OIP searched the

SCO’s general press inquiries mailbox, Specialcounselpress@usdoj.gov. Id.

       For all the custodians described above and for the SCO’s general press inquiries mailbox,

OIP identified responsive records by applying a set of search terms specifically tailored to

Plaintiff’s request. See id. ¶ 17. For the PAO custodians, OIP’s search covered documents within

the date range of July 1, 2015 through December 31, 2017. Id. ¶ 16. For the SCO custodians, the

search terms were applied to e-mails from the date the e-mail accounts were created through

December 31, 2017. Id.

       When OIP learned of the technical issue that Defendants identified in their August 29, 2018

filing, ECF No. 20; see also Decl. of Joseph F. Klimavicz, ECF No. 20-3, OIP worked closely

with its electronic search support team in the Justice Management Division’s Office of the Chief

Information Officer to re-run the searches described above, which identified additional responsive

records across the entire collection of e-mail and computer files for the relevant custodians. See

Brinkmann Decl. ¶ 18.

       While conducting its searches, OIP also learned that, in addition to e-mails and computer

files, potentially responsive text message records existed within the PAO and the SCO. Id. ¶¶ 19-

20. To ensure that OIP gathered and processed all such text messages were processed, OIP worked

with its point of contact in PAO, who conducted a manual review of text message conversations

of the custodians who would be reasonably likely to discuss topics covered by Plaintiff’s request.



                                                9
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 16 of 33




Id. ¶ 19. That PAO point of contact also canvassed other PAO staff in inquire whether any other

individuals within PAO may have potentially responsive text messages, all of whom responded

that they did not. Id. Similarly, as to the SCO, OIP worked with its SCO point of contact, who

coordinated a manual review of the text messages belonging to the only SCO custodian believed

to be reasonably likely to have potentially responsive text messages. Id. ¶ 20. The other SCO

custodian responsible for public affairs informed OIP that he had not communicated by text

message with any members of the media concerning SCO matters. Id.

       B.      FBI’s Search for Responsive Records

       As explained in the Declaration of David M. Hardy, based on the specific information

requested, the FBI determined that a targeted search within the FBI’s Office of Public Affairs

(“OPA”) was appropriate and mostly likely to identify responsive information. See Hardy Decl.

¶ 14. OPA manages and oversees the FBI’s media relations. Only authorized individuals are

permitted to communicate with the media concerning FBI matters, and those individuals are

required to coordinate media contacts with the approval of OPA and/or specifically designated

heads of field offices. Id. ¶ 15. The media communications that Plaintiff requested involve matters

of national interest, and therefore OPA is the only location likely to have any potentially responsive

records. Id.

       To conduct its search within OPA, FBI identified OPA employees who have authorization

to contact the media on a regular basis. FBI then had those employees search their e-mail accounts

for communications from July 1, 2015 through December 31, 2017 containing search terms

specifically designed to capture records responsive to Plaintiff’s request. Id. ¶ 16.

       OPA then forwarded all potentially responsive records identified through the search to the

FBI’s Record/Information Dissemination Section (“RIDS”), whose mission includes responding

to FOIA requests for access to FBI records. Id. RIDS then reviewed and processed those records.
                                                 10
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 17 of 33




Because OPA advised RIDS that two of its employees who were likely to have responsive records

were not available to conduct searches, RIDS ran the same search terms for the same dates through

an automated search of those employees’ e-mail accounts. Id. That automated search located

additional responsive records, which RIDS also reviewed and processed. Id.

        C.      Defendants’ Searches Were More Than Adequate

        The Brinkmann and Hardy Declarations submitted along with this Motion demonstrate that

both OIP and FBI “made a good faith effort to conduct . . . search[es] for the requested records,

using methods which can be reasonably expected to produce the information requested.” Oglesby,

920 F.2d at 68.      OIP and FBI each searched “‘all locations likely to contain responsive

documents.’” Huntington v. U.S. Dep’t of Commerce, 234 F. Supp. 3d 94, 103-04 (D.D.C. 2017)

(quoting Bartko v. U.S. Dep’t of Justice, 167 F. Supp. 3d 55, 64 (D.D.C. 2016)). And each

declaration describes in detail the particular offices searched and the search methods used to locate

records responsive to the particular request. See Brinkmann Decl. ¶¶ 13-25; Hardy Decl. ¶¶ 11-

17.

        Plaintiff cannot not overcome the patent reasonableness of OIP’s and FBI’s searches by

speculating that there may be other responsive records that the agencies have not produced.

Indeed, “[a]n agency’s ‘failure to turn up a particular document, or mere speculation that as yet

uncovered documents might exist,’. . . ‘does not undermine the determination that the agency

conducted an adequate search for the requested records.’” Bigwood v. U.S. Dep’t of Def., 132 F.

Supp. 3d 124, 143 (D.D.C. 2015) (citation omitted). Here, any assertion by Plaintiff “that various

records related to [its] request must have existed is ‘simply conjecture’ and is ‘insufficient to justify

a finding that the search was inadequate.’” Id. (citation omitted). And, indeed, the Court has

already considered Plaintiff’s prior allegations that Defendants acted in bad faith and determined

that they are baseless. See Jan. 3, 2019 Minute Order. Accordingly—whatever additional
                                                   11
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 18 of 33




unsupported theories Plaintiff may conjure—the Court should find that Defendants satisfied their

respective search obligations under FOIA.

III.   DEFENDANTS PROPERLY WITHHELD INFORMATION UNDER
       EXEMPTIONS 5, 6, AND 7(C)

       A.      OIP Properly Withheld Information Under Exemption 5

       Exemption 5 exempts from disclosure “inter-agency or intra-agency memorandums or

letters that would not be available by law to a party . . . in litigation with the agency.” 5 U.S.C.

§ 552(b)(5). It ensures that members of the public cannot obtain through FOIA what they could

not ordinarily obtain through discovery in a lawsuit against the agency, including, as relevant here,

information protected from disclosure on the basis of the deliberative process privilege. See NLRB

v. Sears, Roebuck & Co., 421 U.S. 132, 148-49 (1975).

       The deliberative process privilege is uniquely available to the government. See Rockwell

Int’l Corp. v. U.S. Dep’t of Justice, 235 F.3d 598, 601 (D.C. Cir. 2001).              It applies to

“decisionmaking of executive officials generally” and protects documents containing deliberations

that are part of the process by which government decisions are formulated. In re Sealed Case, 121

F.3d 729, 737, 745 (D.C. Cir. 1997). The purpose of the privilege is to encourage full and frank

discussion of legal and policy issues within the government, and to protect against public confusion

resulting from disclosure of reasons and rationales that were not ultimately the bases for the

agency’s action. See, e.g., Mapother v. U.S. Dep’t of Justice, 3 F.3d 1533, 1537 (D.C. Cir. 1993);

Russell v. U.S. Dep’t of the Air Force, 682 F.2d 1045, 1048 (D.C. Cir. 1982). The privilege is

grounded in the common-sense proposition that “those who expect public dissemination of their

remarks may well temper candor with a concern for appearances . . . to the detriment of the

decision making process.” Sears, Roebuck & Co., 421 U.S. at 150-51 (quotations and citation

omitted).


                                                 12
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 19 of 33




       To fall within the scope of the deliberative process privilege, a document must be both

predecisional and deliberative. See Coastal States Gas Corp. v. U.S. Dep’t of Energy, 617 F.2d

854, 866 (D.C. Cir. 1980). A document is predecisional if “it was generated before the adoption

of an agency policy” and it is deliberative if “it reflects the give-and-take of the consultative

process.” Id. “To establish that [a] document is predecisional, the agency need not point to an

agency final decision, but merely establish what deliberative process is involved, and the role that

the documents at issue played in that process.” Judicial Watch, Inc. v. Export-Import Bank, 108

F. Supp. 2d 19, 35 (D.D.C. 2000).

       Courts have held that the deliberative process privilege broadly applies to

“recommendations, draft documents, proposals, suggestions, and other subjective documents

which reflect the personal opinions of the writer rather than the policy of the agency.” Coastal

States, 617 F.2d at 866. As courts in this Circuit have explained, “[D]raft documents by their very

nature, are typically predecisional and deliberative, because they reflect only the tentative view of

their authors; views that might be altered or rejected upon further deliberation either by their

authors or by superiors.” In re Apollo Group, Inc. Sec. Litig., 251 F.R.D. 12, 31 (D.D.C. 2008)

(non-FOIA case) (quotations omitted), aff’d on other grounds and remanded by, 329 F. App’x 283

(D.C. Cir. 2009). Accordingly, “drafts are commonly found exempt under the deliberative process

exemption.” People for the Am. Way Found. v. Nat’l Park Serv., 503 F. Supp. 2d 284, 303 (D.D.C.

2007); see also Judicial Watch, Inc. v. Clinton, 880 F. Supp. 1, 13 (D.D.C. 1995), aff’d, 76 F.3d

1232 (D.C. Cir. 1996).

       Exemption 5 covers “not only communications which are themselves deliberative in

nature, but all communications which, if revealed, would expose to public view the deliberative

process of an agency,” and, therefore, applies if, “disclosure of even purely factual material would



                                                 13
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 20 of 33




reveal an agency’s decision-making process.” Russell, 682 F.2d at 1048. It has been held to

protect “material reflecting deliberative or policy-making processes.” Montrose Chem. Corp. v.

Train, 491 F.2d 63, 67 (D.C. Cir. 1974). Here, OIP withheld material under Exemption 5 in 116

pages of records that fall into two categories: (1) deliberative discussions regarding press coverage

and press inquiries; and (2) deliberative notes regarding press coverage and press inquiries.

Brinkmann Decl. ¶ 33.

       OIP redacted three pages in the first category. Id. ¶ 29. The redacted material falls within

Exemption 5 because the materials are internal e-mail communications from SCO staff to the

SCO’s public affairs officials regarding press inquiries. Id. ¶ 35. The redacted portions of those

communications are preliminary thoughts on whether and how to respond to press inquiries. Id.

¶ 36. In each instance, SCO staff are reacting in real time, sharing their opinions and suggestions

for how best to respond to the press inquiries. Id. ¶ 35.

       It is beyond question under the law of this Circuit that this sort of internal deliberation

regarding how to respond to press inquiries are covered by Exemption 5. See, e.g., Judicial Watch

v. U.S. Dep’t of Treasury, 796 F. Supp. 2d 13, 31 (D.D.C. 2011); Judicial Watch, Inc. v. U.S. Dep’t

of Homeland Sec., 736 F. Supp. 2d 202, 208 (D.D.C. 2010). To put a finer point on it, the material

is predecisional because it either consists of ongoing discussions that pre-dated the final responses

to press inquiries, or reflects pre-decisional deliberations. Brinkmann Decl. ¶ 36; see also Judicial

Watch, 796 F. Supp. 2d. at 31 (“Post-decisional documents properly fall under the deliberative

process privilege when they recount or reflect pre-decisional deliberations.”); Citizens for

Responsibility and Ethics in Washington v. U.S. Dep’t of Justice, 658 F. Supp. 2d 217, 234 (D.D.C.

2009 (finding information that recounted ‘the ingredients of the decision-making process” properly

withheld even though the interview in which the information was disclosed took place after



                                                 14
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 21 of 33




decisions were made). It is also deliberative because it contains preliminary opinions to aid in the

decision-making process. Brinkmann Decl. ¶ 36. Specifically, the redacted material contains

evaluative discussion and preliminary assessments by Department staff as they analyzed, made

recommendations, gave advice, and worked toward formulating strategies for responding to the

press. Id.

       OIP withheld the second category of redacted material—although somewhat different in

form—for the same reasons. This redacted material is in 113 pages of notes in a “Weekly Press

Report” maintained by SCO’s public affairs personnel. Id. ¶ 37. The SCO created those Weekly

Press Reports to track its responses to the press and to determine whether any further responses

may be necessary. Id. The Weekly Press Report is made up seven columns that show: (1) the date

of the press inquiry; (2) the media outlet; (3) the name of the reporter; (4) the method of contact;

(5) the subject of the inquiry; (6) “research”—which documents steps taken in preparation of a

response, if any; and (7) the “final response” to that inquiry. Id. The Reports also document public

statements the SCO made (beyond “no comment”) and publications the SCO’s public affairs

officials flagged for leadership. Id.

       The redacted portions of these Weekly Press Reports are all contained within only two of

the seven columns—the “research” and “final response” columns. Those portions consist of public

affairs officials’ notes of what steps should be taken in order to develop a final response to press

inquiries, if any. See id. ¶ 38. Importantly, despite its name, the information in the “final response”

column does not actually include the ultimate (“final”) response to the media. Id. Instead, it

consists of additional research and facts compiled in order to develop a recommendation for the

actual final response. Id. In other words, the redacted material in that column is not, in fact, the

final response itself, but is rather deliberative material compiled to inform a final response. Id.



                                                  15
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 22 of 33




       Other redacted information in the “research” and “final response” columns shows which

press inquiries were selected for briefing and were singled out for specific SCO officials and

management, which is also deliberative. Id. Specifically, OIP redacted selected stories that were

identified by the SCO public affairs officials for briefing SCO staff and leadership. These

deliberative notes attempt to succinctly summarize particular events, identify important issues, and

provide key background information in a concise summary format for ease of understanding and

presentation. Id. The authors reviewed the universe of facts and possible issues arising on the

topic at hand, and then select facts and issues they deem most important for senior SCO staff

review and to provide the necessary background information. Id. The decision to include certain

factual information located in the course of their research or in preparing a final response is itself

an important part of the deliberative process. Id. Furthermore, the culling of other factual

information was, in and of itself, a necessary part of the SCO’s deliberations. Id.

       As to both categories of material, disclosure would clearly harm the Department’s

deliberative process. Were this type of material to be released, Department employees would

become “reticent to document notes of their internal decision-making processes, to share their

opinion, and they would be circumspect in their willingness to engage in internal discussions with

other employees.” Id. ¶ 41. This lack of candor would seriously impair the Department’s ability

to foster forthright internal decision, and the strength of official agency decisions would be

diminished if the Department could no longer rely on a robust, pre-decisional, and deliberative

process where employees feel free to keep notes and share their preliminary assessments. Id.

       For all the reasons above, OIP properly invoked Exemption 5 to protect predecisional,

deliberative information. And, indeed, the material that OIP withheld—deliberations surrounding

whether and how to respond to the press—is precisely the type of information that courts in this



                                                 16
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 23 of 33




Circuit routinely hold to be covered under Exemption 5. See, e.g., Judicial Watch, 796 F. Supp.

2d at 31; Judicial Watch, 736 F. Supp. 2d at 208; Protect Democracy Project, Inc. v. U.S. Dep’t

of Defense, 320 F. Supp. 3d 162, 177 (D.D.C. 2018); Competitive Enter. Inst. v. EPA, 232 F. Supp.

3d 172, 187-88 (D.D.C. 2017); Freedom Watch, Inc. v. NSA, 49 F. Supp. 3d 1, 8 (D.D.C. 2014),

aff’d and remanded by, 783 F.3d 1340 (D.C. Cir. 2015).

        B.      OIP and FBI Properly Withheld Information Under Exemption 6.

        OIP and FBI properly withheld information pursuant to FOIA Exemption 6, which protects

“personnel and medical files and similar files the disclosure of which would constitute a clearly

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). The Supreme Court has adopted

a broad construction of the privacy interests protected by Exemption 6. In U.S. Department of

Justice v. Reporters Committee for Freedom of the Press, 489 U.S. 749 (1989), the Court rejected

a “cramped notion of personal privacy” under the FOIA’s exemptions and instead emphasized that

“privacy encompass[es] the individual’s control of information concerning his or her person.” Id.

at 763. As the Supreme Court has explained, “[p]rivacy is the claim of individuals . . . to determine

for themselves when, how, and to what extent information about them is communicated to others.”

Id. at 764 n.16 (citation omitted).

        In the context of FOIA, privacy is of particular importance because a disclosure required

by FOIA is a disclosure to the public at large. See Painting & Drywall Work Pres. Fund, Inc. v.

HUD, 936 F.2d 1300, 1302 (D.C. Cir. 1991) (finding that if information “must be released to one

requester, it must be released to all, regardless of the uses to which it might be put”). It is for this

reason that Exemption 6 requires an agency to balance the individual’s right to privacy against the

public’s interest in disclosure. See U.S. Dep’t of the Air Force v. Rose, 425 U.S. 352, 372 (1976).

The agency must determine whether disclosure of the information threatens a protectable privacy

interest; if so, the agency must weigh that privacy interest against the public interest in disclosure,
                                                  17
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 24 of 33




if any. See Reed v. NLRB, 927 F.2d 1249, 1251 (D.C. Cir. 1991). Individuals have a privacy

interest in personal information, of course, even if it is not of an embarrassing or intimate nature.

See Washington Post Co., 456 U.S. at 600 (recognizing that “while information such as place of

birth, date of birth, date of marriage, employment history, and comparable data is not normally

regarded as highly personal,” such information may be entitled to protection under Exemption 6).

And the “only relevant public interest in disclosure to be weighed in this balance is the extent to

which disclosure would serve the core purpose of the FOIA, which is contribut[ing] significantly

to public understanding of the operations or activities of the government.” U.S. Dep’t of Defense

v. Fed. Labor Relations Auth., 510 U.S. 487, 495 (1994) (internal citation and quotation marks

omitted). Plaintiff bears the burden of demonstrating that disclosure of the challenged information

would serve this interest. See Carter v. U.S. Dep’t of Commerce, 830 F.2d 388, 390-91 nn. 8 &

13 (D.C. Cir. 1987). In this case, Plaintiff is unable to satisfy that burden.

       FBI and OIP both properly invoked Exemption 6 to withhold narrow categories of

information, as described in the Brinkmann and the Hardy Declarations. For the reasons discussed

below, those withholdings were proper under FOIA.

       1. Identities and Identifying Information of Government Personnel. OIP and FBI both

properly withheld the names and other personally identifying information of certain government

employees—including DOJ and FBI professional staff—who were mentioned in the responsive

records. Brinkmann Decl. ¶¶ 52-53; Hardy Decl. ¶¶ 24-26.

       As detailed in the Brinkmann Declaration, OIP withheld the names and contact information

(i.e., official email accounts and telephone numbers) of certain SCO and law enforcement

employees. See Brinkmann Decl. ¶¶ 52-53. OIP considered the “sensitive and often contentious

nature of the SCO’s work, as well as the work law enforcement personnel conduct” and determined



                                                  18
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 25 of 33




that disclosure of their identities and information that could be used to identify them could

seriously prejudice their ability to conduct investigations going forward and could subject them to

unwanted harassment. Id. ¶ 53; see also Long v. OPM, 692 F.3d 185, 192 (2d Cir. 2012) (noting

that “[i]t is not uncommon for courts to recognize a privacy interest in a federal employee’s work

status . . . if the occupation alone could subject the employee to harassment or attack . . . [such as]

law enforcement agents who participated in an investigation”); Lesar v. U.S. Dep’t of Justice, 636

F.2d 472, 487 (D.C. Cir. 1980) (recognizing that law enforcement officers “have a legitimate

interest in preserving the secrecy of matters that conceivably could subject them to annoyance or

harassment in either their official or private lives”); Shurtleff v. EPA, 991 F. Supp. 2d 1, 18 (D.C.C.

2013) (explaining that “preventing the burden of unsolicited emails and harassment” is a

“substantial privacy interest”). OIP similarly determined that releasing contact information of

SEO and law enforcement employees could subject them to harassment. Brinkmann Decl. ¶¶ 52.

Balancing the employees’ privacy interests in that information, OIP concluded that it was not

outweighed by the public interest in disclosure, because it would not aid the public in

understanding how the Department carries out its duties. Id.

       Similarly, OIP properly withheld the identities and personally identifying information of

(1) individuals working for the SCO whose identities are not already public, and (2) individuals

who reporters speculated were working for the SCO but who were not, in fact, doing so. Id. ¶ 49.

Given the high-profile nature of the SCO’s work, there was considerable public speculation as to

the SCO’s staffing decisions, some of it inaccurate. Id. In some instances, reporters sent their

speculation to SCO personnel for comment. Id. OIP determined that, in light of the contentious

debate surrounding the investigation, disclosing the names and personally identifying information

of SCO employees whose names are not public could seriously prejudice their effectiveness in



                                                  19
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 26 of 33




conducting investigations going forward and subject them to unwarranted harassment. Id. OIP

also determined that there is no overriding public interest in the identity of these individuals,

because that information would not shed any meaningful light on the operations of the Department.

Id. As to individuals who were not, in fact, working for the SCO, OIP determined that those

individuals also have strong privacy interests in the withheld information, because they could still

be subject to unwarranted harassment, and disclosure of their identities could prejudice their

effectiveness if they are approached for comment as to their connection with the SCO (or lack

thereof). Id. And, of course, releasing the names and/or personally identifying information of

individuals who did not work for the SCO would not shed light on the Department’s work. Id.

       As to the FBI, the FBI personnel whose names and personally identifying information were

withheld “were, and possibly are, in positions of access to information regarding official law

enforcement investigations, and therefore could become targets of harassing inquiries for

unauthorized access to investigations if their identities were released.” Hardy Decl. ¶ 24; see also

Long, 692 F.3d at 192. After identifying those privacy interests, FBI considered whether there

was an overriding public interest in disclosure and determined that there was none, because

“disclosing the identities of FBI professional staff would not significantly increase the public’s

understanding of the FBI’s operations and activities.” Hardy Decl. ¶¶ 25. Under the same

rationale, the FBI also properly withheld the names of other government employees, including the

name of a Congressional Staff employee and the identities of certain other non-FBI DOJ

employees. Id. ¶ 28. As stated in the Hardy Declaration, “these government employees maintain

substantial privacy interests just as FBI employees do,” and “this information would not

significantly increase the public’s understanding of the FBI’s operations and activities.” Id.




                                                20
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 27 of 33




       2. Non-Public Contact Information of Reporters. Both OIP and FBI also withheld the

non-public contact information of reporters contained in the responsive records. See Brinkmann

Decl. ¶ 52; Hardy Decl. ¶ 27. OIP withheld the personal email accounts and cell phone numbers

of reports because OIP determined that “release of such information could subject those

individuals to unwarranted harassment in their personal time and personal lives.” Brinkmann Decl.

¶ 52. On the other hand, releasing that information would provide no insight to the public

regarding the Department’s functioning. Id.

       The FBI conducted a similar analysis and concluded that the purposes of FOIA do not

require disclosure of reporters’ direct contact telephone lines or cell phone numbers in this case.

Hardy Decl. ¶ 27. As explained in the Hardy Declaration,

       Members of the media maintain legitimate privacy interests in private information
       such as their direct telephone lines or cell phone numbers because the public could
       draw negative conclusions based on their inquiries to OPA or devote unwarranted
       attention and/or harassment toward the individuals based on their communications
       with OPA if their identities were disclosed.

Id. Because there is no public interest in the disclosure of this non-public contact information of

non-government persons, the FBI concluded that the information is protected by Exemption 6.

       3. Identities and Personally Identifying Information of Third Parties Merely Mentioned.

OIP and FBI both properly withheld the identities and personally identifying information of third

parties merely referenced in the responsive records.       As OIP explains in the Brinkmann

Declaration, it redacted material “pertaining to third parties not connected to the SCO, including

images of individuals, third-party (not associated with SCO) political contributions, personal

relationships or connections to Department employees, or reporter-supplied allegations of a third

party’s connections to the SCO’s investigations.” Brinkmann Decl. ¶ 50.           In the redacted

documents, reporters were attempting to obtain information through the SCO about third parties

not connected to the SCO. Id. Particularly given the politically charged environment surrounding
                                                21
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 28 of 33




the SCO’s work, OIP properly determined that disclosure of this information relating to third

parties, whose sole public connection to the work of the SCO is through reporters’ inquiries, would

subject those third parties to unwarranted harassment. Id. Nor would this disclosure aid the

public’s understanding of how the Department carries out its duties, because the third-parties are

mentioned in the records only for the inquiring reporters’ own purposes. Id.

       The FBI similarly withheld a two-page record that was attached to a reporter’s request and

that would identify a third party about whom the reporter was inquiring. See Hardy Decl. ¶ 29. In

balancing the interests of the third party against the interest in public disclosure, the FBI considered

that “disclosure would reveal information about the third party and connect that information to an

FBI investigation via the reporter’s email inquiry,” which would “carr[y] an extremely negative

connotation” for the third party and subject that person to possible harassment. Id. On the other

hand, disclosure of the two-page non-FBI record would not shed light on any of the operations or

activities of the FBI—only the reporter’s inquiry. Id.

       4. Other Non-Public Third-Party Information Received from Reporters. OIP additionally

withheld information contained in e-mails from journalists to SCO public affairs personnel

regarding third parties if that information was not subsequently disclosed to the public through the

journalists’ reporting. Brinkmann Decl. ¶ 51. In these instances, journalists sought the SCO’s

comment on unverified information related to the third-parties. Id. OIP properly determined that,

given the politically charged environment and intense public scrutiny surrounding the SCO’s work,

the third parties mentioned in the reporters’ e-mails to the SCO could face unwanted harassment

if information about them was made public. Id. The information also would not aid in the public’s

understanding of how the Department carries out its duties. The Department received the material




                                                  22
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 29 of 33




only because the journalists wanted confirmation of certain information, not because the

information contributed to the work of the Department. Id.

       5.   Information Concerning Prior (pre-SCO) Contacts Between DOJ Officials and

Reporters. OIP also withheld certain material regarding DOJ employees’ contacts with reporters,

prior to the SCO’s investigation, that appears in the responsive records. Id. ¶ 54. This material

consists of only of discussion of personal details about SCO officials’ (pre-SCO) interactions with

members of the news media. SCO officials have a substantial privacy interest in this personal

information. Id. The public interest in learning about how the Department operates, moreover,

would not be served by releasing the discussion of personal connections that OIP withheld. Id.

Any public interest is, at best, de minimis and does not outweigh the substantial privacy interests

of the SCO officials. Id.

       6. Information of a Purely Personal Nature: Finally, OIP properly determined that there

is no public interest in disclosing various public details pertaining to reporters, third parties, and

Department employees—such as the vacation details, holiday plans, religious observances, and

other similar information unrelated to any government function or activity—that appear in some

of the responsive records. Id. ¶ 48. Because the individuals clearly maintain a privacy interest in

these details, and because such information is not related to any official duties, it would not inform

the public about the operation or activities of the SCO or its communications with the media. Id.

Accordingly, OIP properly withheld such information from records responsive to Plaintiff’s

request.

       C.      OIP Properly Withheld Information Under Exemption 7(C).

       FOIA Exemption 7 protects from disclosure all “records or information compiled for law

enforcement purposes” that could reasonably be expected to cause one of the six harms outlined

in the Exemption’s subparts. 5 U.S.C. § 552(b)(7). “To fall within any of the exemptions under
                                                 23
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 30 of 33




the umbrella of Exemption 7, a record must have been ‘compiled for law enforcement purposes.’”

Pub. Emps. for Envtl. Responsibility v. Int’l Boundary & Water Comm’n , 740 F.3d 195, 202 (D.C.

Cir. 2014) (quoting 5 U.S.C. § 552(b)(7)). “According to the Supreme Court, the term ‘compiled’

in Exemption 7 requires that information be created, gathered, or used by an agency for law

enforcement purposes at some time before the agency invokes the exemption.” Id. at 203 (citation

omitted). As explained in detail below and in the accompanying declarations submitted on their

behalf, OIP asserted Exemption 7 to protect law enforcement-related information contained in the

records OIP identified as responsive. See Brinkmann Decl. ¶¶ 56-58.

       In particular, OIP Exemption 7(C) authorizes withholding of information compiled for law

enforcement purposes if release of the information “could reasonably be expected to constitute an

unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(7)(C). If the records at issue were

compiled for law enforcement purposes, Exemption 7(C) requires the agency to balance the

relevant individual privacy rights against the public interest in disclosure. See Reporters Comm.

for Freedom of the Press, 489 U.S. at 762; Davis v. U.S. Dep’t of Justice, 968 F.2d 1276, 1281

(D.C. Cir. 1992). The balancing analysis is similar to the analysis conducted under Exemption 6,

but the analysis under Exemption 7(C) tilts more in favor of nondisclosure. See Reporters Comm.

for Freedom of the Press, 489 U.S. at 755-56 (comparing statutory language of Exemption 6 and

Exemption 7(C)); Reed, 927 F.2d at 1250-51 (same). Here, OIP conducted this balancing

assessment with respect to the challenged records and respectively concluded that the analysis tilts

in favor of nondisclosure.

       Specifically, OIP withheld portions of a one-page e-mail pursuant to Exemption 7(C), in

conjunction with Exemption 6, to protect an individual’s personal privacy. See Brinkmann Decl.

¶¶ 56-58. That e-mail consists of information provided by a member of the news media that the



                                                24
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 31 of 33




sender thought may advance the SCO’s investigation.           Id. ¶ 58.   Information provided by

individuals concerning an investigation a productive investigative tools utilized by law

enforcement agencies. Id. The largest roadblock to successfully obtaining the desired information

is the fear of an individual that his or her identity could possibly be exposed and, he or she could

consequently be harassed, intimidated or threatened with legal or economic reprisal, or possible

physical harm. Id. The continued access to persons willing to assist in law enforcement

investigations by providing pertinent factual information without invasions to their privacy

outweighs any public benefit that could be derived from the disclosure of the identity of this

individual. Id. OIP determined that release of the information may identify the sender and,

accordingly, weighed the privacy interest of that individual against the public interest in disclosure

and determined that the balance tipped strongly toward withholding. Id.

       D.      OIP and FBI Both Released All Reasonably Segregable Portions of
               Responsive Records

       FOIA requires that “[a]ny reasonably segregable portion of a record shall be provided to

any person requesting such record after deletion of the portions which are exempt under this

subsection.” 5 U.S.C. § 552(b). OIP and FBI have met that requirement here. The Brinkmann

Declaration confirms that “there is no additional, non-exempt information that can be segregated

for release to Plaintiff.” Brinkmann Decl. ¶¶ 55, 59; see also id. ¶¶ 42-43 (similarly confirming

with respect to material withheld under Exemption 5 that OIP produced all reasonably segregable,

non-exempt material). Similarly, the Hardy Declaration confirms that the “FBI provided all non-

exempt records or portions or records responsive to its FOIA request.” Hardy Decl. ¶ 32. The

released documents themselves also provide strong evidence of OIP’s and FBI’s good-faith efforts

to provide all reasonably segregable information.




                                                 25
       Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 32 of 33




       The Brinkmann and Hardy Declarations also explain why OIP and FBI, respectively are

confident that they met their burden of segragability: both conducted a “line-by-line” review to

carefully determine, in good faith, what portions can be released and what portions must be

withheld. See Brinkmann Decl. ¶¶ 42, 55, 59; Hardy Decl. ¶ 32. Courts in this Circuit routinely

enter summary judgment on the issue of segragability based on similar agency declarations. See,

e.g., Johnson v. Executive Office for U.S. Attorneys, 310 F.3d 771, 776-77 (D.C. Cir. 2002) (agency

demonstrated that there was no reasonably segregable non-exempt information where submitted

affidavit showing that agency had conducted line-by-line review of each document withheld in

full); see also Sussman v. U.S. Marshals Serv., 494 F.3d 1106, 1117 (D.C. Cir. 2007) (“Agencies

are entitled to a presumption that they complied with the obligation to disclose reasonably

segregable material.” (citation omitted)).

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Defendants’ motion for summary

judgment.


Dated: April 8, 2019                         Respectfully submitted,

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                                                26
Case 1:18-cv-00088-EGS Document 36-1 Filed 04/08/19 Page 33 of 33




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                               27
